          Case 23-00107          Doc 53      Filed 02/13/24 Entered 02/13/24 19:24:03                  Desc Main
                                               Document Page 1 of 3
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION
In re: Paula Gallagher                                         )        Case no. 23-00107
                                                               )
                                                                        Chapter 13
                                                               )
                                              Debtor           )        Judge: Janet S. Baer
                                                               )

      Paula Gallagher                                                       VW LAW LLC
      2047 Chatham Dr                                                       1755 Park St #200
      Wheaton, IL 60189                                                     Naperville,IL 60563


                                                   NOTICE OF MOTION



        Please take notice that on Friday, March 8, 2024 at 9:15 am, a representative of this office shall appear before
        the Honorable Judge Janet S. Baer, or any judge sitting in that judge 's place, either in Courtroom 615 of the
        Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn St., Chicago, IL 60604 or electronically
        as described below and present the Trustee's motion a copy of which is attached.

        Important: Only parties and their counsel may appear for presentment of the motion electronically
        using Zoom for Government. All others must appear in person.

        To appear by Zoom using the internet, use this link: https//www.zoomgov.com/join. Then enter the
        meeting ID and password.

        To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
        Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 160 731 2971 and the passcode is 587656.
        The meeting ID and passcode can also be found on the judge 's page on the court's web site.

        If you object to this motion and want it called on the presentment date above, you must file a Notice of
        Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the
        motion will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the
        motion without a hearing.




        Glenn Stearns, Chapter 13 Trustee                           /s/ Pamela L. Peterson
        801 Warrenville Road, Suite 650                             For: Glenn Stearns, Trustee
        Lisle, IL 60532-4350
        Ph: (630) 981-3888
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                                      NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION
In re: Paula Gallagher                                        )        Case no. 23-00107
                                                              )
                                                                       Chapter 13
                                                              )
                                             Debtor           )        Judge: Janet S. Baer
                                                              )




                                             CERTIFICATE OF SERVICE



          I, Carrie ODonnell, certify [if an attorney]/ declare under penalty of perjury under the laws of the United
          States of America [if a non-attorney] that I served a copy of this notice and the attached motion on each
          entity shown below at the address shown and by the method indicated on February 14, 2024.



           VW LAW LLC                                             via CM/ECF
           1755 Park St #200
           Naperville,IL 60563




            Paula Gallagher                                       U.S. mail
            2047 Chatham Dr
            Wheaton, IL 60189




                                                                       /s/ Carrie ODonnell
         Glenn Stearns, Chapter 13 Trustee
                                                                       For: Glenn Stearns, Trustee
         801 Warrenville Road, Suite 650
         Lisle, IL 60532-4350
         Ph: (630) 981-3888
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                                                            )
                                                                    Chapter 13
                                                            )
                                            Debtor          )       Judge: Janet S. Baer
                                                            )



                         MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS



    Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to Section
    1307(c)(6), and in support thereof, states the following:

    1. The debtor filed a petition under the Bankruptcy Code on January 05, 2023.
    2. The debtor's plan was confirmed on June 16, 2023.
    3. Initial plan term: 60 Months.
    4. Months since petition filed: 13.
    5. Report date: February 13, 2024.


        A Summary of the debtor's plan follows:

        Monthly Payment:        $2,550.00                       Last Payment Received: February 07, 2024

        Amount Paid:           $24,894.24                       Amount Delinquent:                $8,219.51



    WHEREFORE, the Trustee prays that this case be dismissed for material default by the debtor with respect to the
    term of a confirmed plan, pursuant to Section 1307 (c)(6).




                                                                    Respectfully Submitted;

      Glenn Stearns, Chapter 13 Trustee                             /s/ Pamela L. Peterson
      801 Warrenville Road, Suite 650                               For: Glenn Stearns, Trustee
      Lisle, IL 60532-4350
      Ph: (630) 981-3888
